                            Case 1:24-cv-04524-NGG-MMH Document 1-1 Filed 06/26/24 Page 1 of 3 PageID #: 10
                                                         Exhibit A to the Complaint
Location: Queens, NY                                                                              IP Address: 72.69.6.19
Total Works Infringed: 35                                                                         ISP: Verizon Fios
 Work     Hashes                                                               UTC         Site          Published         Registered   Registration
 1        Info Hash: 1078F4278CA1A7FCAE79FED5D96A035214079372                   06/05/2024 Blacked       06/03/2024        06/18/2024   PA0002476883
          File Hash:                                                               02:34:38 Raw
          A415960E8BC24052F5CD6AC3D66077A4EB319516A80B6797FFDB97C8025FB250
 2        Info Hash: 4844705C599B1C7D81E89AF67D61B3281247C258                   05/29/2024 Blacked       05/28/2024        06/18/2024   PA0002476882
          File Hash:                                                               02:28:34
          B0C49441E81A6ED706CA80EDED4AAE6E2A63FB31046D87906CA3F84B0261157D
 3        Info Hash: 543406805A25DC23DDA40C17DEF980E50426A5E0                   05/20/2024 Vixen         05/17/2024        06/18/2024   PA0002476876
          File Hash:                                                               02:24:14
          706A2CBC43175C21BF2C5DFB65DDCC9A809B570AF8DE5E088FD84768F3D9EB65
 4        Info Hash: 978F0FA230C51ABFEDE1E8D6B8265DAEDCB98E69                   05/20/2024 Vixen         03/22/2024        04/12/2024   PA0002465371
          File Hash:                                                               01:58:41
          059970E4895537C34C6751526A503ADB4705976C9400EA07DFC3F54A13CA1600
 5        Info Hash: 4D97FBB3380359EC0BC1F795C097B10913896F2D                   05/19/2024 Blacked       05/18/2024        06/18/2024   PA0002476745
          File Hash:                                                               21:21:30
          FACAA04553D88D6014FA3D994AF210BA7FFF21B26ADEBA6AA57A1D005F9D0526
 6        Info Hash: 1B714F6AD842B9DC156A57F59112DD362AC8BDF4                   05/16/2024 Blacked       05/13/2024        06/18/2024   PA0002476744
          File Hash:                                                               02:31:59
          F97A714012EC7E69800961AD0FC1AAA29118FB50AA521546F46FE77E5CF36B7B
 7        Info Hash: 8A214035F597E852F14FDE39D7725DD87305BFF0                   04/30/2024 Blacked       04/29/2024        05/07/2024   PA0002469677
          File Hash:                                                               02:43:12 Raw
          967D7A842D4E9E8BE62BFBC7D6AEAAD1F30064B77F7A204B067F5755E2C40FDC
 8        Info Hash: 5826A6AF69A40AEB1E2738E4514FEE4ED438D7DF                   04/27/2024 Blacked       04/23/2024        05/08/2024   PA0002469855
          File Hash:                                                               04:02:59
          CAD71AB92B7D42A0E9BE8C0FE49ED66168FF5CECD1E5D1A9EB46DFE45668F986
 9        Info Hash: 01C502F2E07F340F87F78EEED43074AF360D66DB                   04/17/2024 Blacked       04/15/2024        05/08/2024   PA0002469676
          File Hash:                                                               02:36:24 Raw
          5A47F773D729629EEC7C01B26198B07F7C465D5263F0C4B6979CC09CD400A417
 10       Info Hash: 615B2006B6F8FE84F05634E614462FCB5DEE7AB2                   04/09/2024 Blacked       11/27/2023        12/12/2023   PA0002445178
          File Hash:                                                               02:43:22 Raw
          4B25FB60A5F0E2BC0497DD771D2A5CA6EAEBA3EF3F2297BE2A0D0F06EA7D618F
 11       Info Hash: 1B32E1B229B2331C97C01CE916EA543949C07986                   03/23/2024 Blacked       03/19/2024        04/10/2024   PA0002464916
          File Hash:                                                               02:34:14
          580E4F2AA19C1D471A118481A146D35414FDBA8C4C4FA041FC229086E352BDD7
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
12     Info Hash: CAF0DE7AF77B608FF08E726CD4411E094553D9F3                03/17/2024 Vixen     03/15/2024   04/12/2024   PA0002465377
       File Hash:                                                            03:53:26
       560069997729F04A8AA9FC04940FEED16351796E811A931CB3E0ABC4F8A16D4C
13     Info Hash: B15EF9CA1B8E6E56BAADE1CEDEDAEE141FB0546F                03/17/2024 Blacked   03/14/2024   04/10/2024   PA0002464915
       File Hash:                                                            03:23:22
       BFCA155D5D1ADB81D4BDE10F8C64242A74BF083FCEB4CE19B23D568EFB4EC300
14     Info Hash: E5E9405449EB45B05B5BD1C5AC6BA16EF35DDA4C                03/11/2024 Tushy     01/21/2024   02/13/2024   PA0002454783
       File Hash:                                                            03:08:08
       9A4BD1F4F88195CD1C263FEA3C1130F540C84CC7778FFBED02304DDFF250E1EC
15     Info Hash: 860C42CCA3C3E33FD32235D34A3E7A64B8F67F8C                03/11/2024 Blacked   03/09/2024   04/10/2024   PA0002464914
       File Hash:                                                            03:02:29
       ED98CDAC16F156F0E94237A131393E198B892E1668C395EB673EF5244BB602B3
16     Info Hash: 2C45261BB78D50D26999C5B2AFC5A2581F7861BE                03/05/2024 Vixen     03/01/2024   03/13/2024   PA0002459594
       File Hash:                                                            03:26:49
       183A39EDAD90E4364652A994584A564C28A9601A76460432AB80AA417C804115
17     Info Hash: 37BFFD584C1244689D96C07970D5F48C9E8BC322                03/05/2024 Blacked   03/04/2024   03/12/2024   PA0002459238
       File Hash:                                                            01:35:43 Raw
       B6F7F4551D9461E3B727B2476960B8AA39E7E46BD76CE9BEC279F778B5D78B38
18     Info Hash: 5A42DFE27602BD80A27CBD9D981D913FD087DBA2                03/05/2024 Blacked   03/02/2024   03/12/2024   PA0002459225
       File Hash:                                                            01:08:25
       7EFD4D4C6756289D24DF3595F71222392D04714E9D5B83A4107EA28C06ED70B9
19     Info Hash: 902940C849181D21A3DF4D4C6C1BE80CFBFAD9EC                02/21/2024 Vixen     02/16/2024   03/13/2024   PA0002459592
       File Hash:                                                            04:00:13
       9CF2543B22FBB69F54EA2DA649559EBA3A4F250CC2158B714F53377CFE348060
20     Info Hash: 8D1FD7C2EBE2FA88228601C874E3EBD31D2F524A                02/18/2024 Blacked   05/12/2019   07/05/2019   PA0002206384
       File Hash:                                                            11:48:40 Raw
       1758B5DB51DD6950A5BD9225EBB5759AC48CB6E53BB6FB95F253886DA519BB1B
21     Info Hash: 27AE1E1034EA8BB067DFE05D0C8A6F35A4A4C51D                02/13/2024 Blacked   01/29/2022   02/14/2022   PA0002335485
       File Hash:                                                            03:46:41
       CDD56A4C5055860375D8539B9F2524A4013525256F75F6D3168EE368B7F65D3F
22     Info Hash: E1DC17F1E6B165394C514C08B55A305613F4AAE6                02/13/2024 Blacked   02/23/2023   03/06/2023   PA0002399998
       File Hash:                                                            03:46:27 Raw
       FB14B0202BB679BDE513466782E98A1BE16635DF06633F94D5D6390605FA2618
23     Info Hash: D9D8A74DE1E24EC01C00E309A490CC210F54C055                02/13/2024 Blacked   02/12/2024   03/12/2024   PA0002459230
       File Hash:                                                            03:43:29 Raw
       DD85C614EE6D9BB69585BDBCE51648E352FD472CE9340B1D41732C625BE42C65
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
24     Info Hash: C06DD611B6CD7674DD69D70C791C9D5504293484                02/13/2024 Vixen     05/12/2023   06/09/2023   PA0002415370
       File Hash:                                                            03:40:45
       C73E0B71C01C2ACE1157FB55EA3ACFA1DDBF64BBB8CAF4BFB1BCFC491EE86F35
25     Info Hash: 8B20BF478CFB95C70CE62248D078EB8957BA7971                02/08/2024 Vixen     02/02/2024   02/13/2024   PA0002454778
       File Hash:                                                            02:28:55
       F15A8084E6A752F407B5FAAD0FBE8682B745DD14B335425283AA4BFC37AF1FDC
26     Info Hash: 2B6D6BDF887AB89FBEC89CA81D077FDF2608816B                02/05/2024 Blacked   02/03/2024   02/14/2024   PA0002455061
       File Hash:                                                            02:52:23
       BAA4B14C618769C7571FBC2C44A3E7DA8E6C19A7E0C9765E1A70E2081357FFED
27     Info Hash: 973A2B6C35D7985600011A11EE6C7DC864F96735                02/05/2024 Blacked   01/27/2024   02/27/2024   PA0002457000
       File Hash:                                                            00:58:49
       CFC90F2D01C80849687B002B348F8AE181DB6523C638CD2BD4E67CB3F5C456B2
28     Info Hash: 94276047FB462D1079C128C237296EAD616795E8                02/05/2024 Tushy     12/18/2022   01/10/2023   PA0002389612
       File Hash:                                                            00:58:35
       E325A2E2848B12AA00D4F3A8075EE1784DB559A7DCB66F2B748237E1BB5B022B
29     Info Hash: 60FBFBA10E27BBF6F084E7F04AEA5D1A20082FA3                02/03/2024 Blacked   01/24/2022   02/14/2022   PA0002335489
       File Hash:                                                            02:58:10 Raw
       BB8E35BA60A262D1C0F83DABD313879D1CB8E26680AA3AEE8E5B9659F0EC42FD
30     Info Hash: 52436851D35E085EAED35AA84CCF26E6F1D81393                02/03/2024 Tushy     04/16/2023   05/14/2023   PA0002411274
       File Hash:                                                            02:57:16
       B12EFA48025E7BE51B61118A9CA4DD7F69F6F9E2B09D5A7C9AD20B37C1F5298B
31     Info Hash: 2859D8B669032F1D0ECDD39A791736D355406568                02/03/2024 Vixen     01/26/2024   02/13/2024   PA0002454776
       File Hash:                                                            02:56:16
       9BC16194B8966E35E3659E7BA5CE3DA2EC148F076B14CB9C1235BD95BF7FE0F1
32     Info Hash: A32BDCA457BA20D753D8D73F590AB36A02AB47C9                01/22/2024 Blacked   01/20/2024   02/13/2024   PA0002454784
       File Hash:                                                            00:03:12
       89AD53A898BD4DA272F1B32DC0091115520DCAA733499FA0C7419BA273DEB765
33     Info Hash: 470D70B35999DFB6477FCE2C56E687D162AB1F98                01/17/2024 Blacked   01/15/2024   02/14/2024   PA0002455063
       File Hash:                                                            03:32:17 Raw
       CFFAC5CF152D6D10846405FFA593025AE9F435A55197B1F20617DB737FD7897B
34     Info Hash: 7FD285FE8D98465FC4C720596E43125C4EE438B4                01/10/2024 Blacked   01/08/2024   02/14/2024   PA0002455060
       File Hash:                                                            02:58:08 Raw
       86FCFB193CBACD77D5D8953689FF8E225AA88B50937DE40F16A29FA0ABE6DA21
35     Info Hash: 09F245A9CD6C04687D3ADD108A6C07E1F213CB37                01/06/2024 Tushy     12/03/2023   12/13/2023   PA0002445432
       File Hash:                                                            14:25:26
       CB06A0BFDCA74F113593C93795285ED8CAD43068075810F7EC1182E7FC2646EF
